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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

RAUL SIANCAS individually and on behalf of all Civ. No. 14-cv-6151 (JS)(SIL)
others similarly situated,
DECLARATION OF
Plaintiffs, BILLY JOEL ODRIA IN
SUPPORT OF MOTION FOR
- against - CONDITIONAL
CERTIFICATION

Rallye Motors, LLC, Rallye Motors Holding LLC,
Rallye Leasing, Inc., Rallye Glen Cove, LLC, Rallye
Northern, LLC, Rallye Roslyn, LLC, Rallye Roslyn
Holding, LLC, Rallye Westbury, LLC, and Exclusive
Detailing, Inc.

Defendants.

I, Billy Joel Odria, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that
the following is true and correct to the best of my knowledge and belief:

1. I currently reside in the State of New York, Nassau County.

2. I was employed by Exclusive Detailing at Rallye Motors in Roslyn, New York from
approximately August 25, 2014 until approximately December 17, 2014.

3. Rallye Motors in Roslyn sells Mercedes Benz and other cars;

4, Exclusive detailing employees worked within the Rallye Dealership, where there is an
automated car wash and a car detailing area.

5. I was hired by a man known as “Elian.” I provided him with my resume, driver’s
license, and Social Security card. He told me that Exclusive would pay me eight (8) or
nine (9) dollars an hour to wash and clean cars. J asked him if there would be overtime.

He responded “‘we’ll talk about that later.”
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10.

FH,

12.

13.

During my first week I was paid $9 per hour. I worked approximately 11 hours per day
(from about 6:00am until 5:00pm) from Monday through Friday, and approximately 8
hours (from 8:00 am until 4:00pm) on Saturday.

When I received my first paycheck I noticed that no taxes or other deductions had been
withheld. There was no hourly rate, overtime rate, or number of hours worked. It was
printed by computer, but did not look like a paycheck. I brought the check to Elian and
asked for an explanation. He told me that the check was correct because I was paid $9
per hour for each hour worked.

T asked him why there was no overtime. He told me “in this company we don’t pay
overtime.”

After two weeks I asked for a raise to $10 per hour, which was denied.

About one month after I was hired I compared my paycheck to the paychecks of two of
my co-workers — “Neri” and “Chow.” They were upset because they had been working
for two years and were only being paid $8.00 per hour for all hours worked. They were
not being paid for overtime either.

During my employment with Exclusive it was understood that the company did not pay
overtime to employees, but only paid the regular rate for all hours worked.

The regular working hours of my co-workers were the same as mine — from about
6:00am until 5:00pm Monday through Friday, and from 8:00am until 4:00pm on
Saturday. Sometimes, if it was busy, we stayed until as late as 8:00pm on weekdays.
About 1 4 months after I was hired Elian told me that Exclusive employees were also
cleaning cars at other Rallye dealerships, including Rallye Lexus in Glen Cove and

Rallye BMW in Westbury.
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14. There were 18 Exclusive employees working within Rallye Mercedes alone.

15.1 am aware that Raul Siancas, according to company policy, was not paid overtime, but
instead was paid the regular rate for overtime worked.

16.1 am not aware of any Exclusive employee who was paid overtime at the overtime rate
while I was employed.

17. Attached hereto as Exhibit 1 are three of my paychecks numbered 25834, 26632 and
26975. My signature is on the back of the checks.

18. Two of my co-workers were Chow Ramirez and Robson Monteiro. My attorney has
informed me that he has provided a sample paycheck from each of these individuals to
the Court. Consistent with company policy, it is my understanding that these two
individuals were also not paid overtime at the overtime rate.

The foregoing is true and correct.

Dated: March 12, 2015

Bibby deborp

BILLY JOEL QDRIA
